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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

    MELANIE DAVIS, on behalf of herself and     Civil Case No.: 18-cv-81004-RKA
    all others similarly situated,
                                                Judge: Hon. Roy K Altman
                         Plaintiff,             Magistrate Judge: Hon. Dave Lee Brannon
    v.

    POST UNIVERSITY, INC.,

                         Defendant.




         Declaration of Jeremy M. Glapion In Support of Plaintiff’s Motion for Summary
                                           Judgment
Case 9:18-cv-81004-RKA Document 73-3 Entered on FLSD Docket 07/19/2019 Page 2 of 67



           I, Jeremy M. Glapion, declare as follows:

           1.        I am the founder of Glapion Law Firm and a member in good standing of the State

   Bars of New Jersey and New York. I am admitted pro hac vice for this matter as counsel for

   Plaintiff Melanie Davis.

           2.        I make this declaration in support of Plaintiff’s Motion for Summary Judgment. I

   am fully familiar with the facts set forth herein.

           3.        Attached hereto as Exhibit A is a true and accurate copy of PU00011106 as

   Defendant produced in discovery in this matter. This was Exhibit 16 to PU’s 30(b)(6) deposition.

           4.        Attached hereto as Exhibit B is a true and accurate copy of PU00000038-39 as

   Defendant produced in discovery in this matter.

           5.        Attached hereto as Exhibit C is a true and accurate subset of MD000887, Plaintiff’s

   Call Detail Report. The full document was produced by Sprint in response to a subpoena to Sprint.

   For privacy, the exhibit is limited only to those inbound calls from and outbound calls to Post

   University, though the full exhibit was produced to Defendant in this matter, and the first 6 digits

   of Plaintiff's phone number are redacted.

           6.        Attached hereto as Exhibit D is a true and accurate copy of MD000907-910, a

   document entitled “Key to Understanding CDMA Call Detail Reports” which was produced to

   Plaintiff by Sprint in response to a subpoena to Sprint, and produced to Defendant in this matter.

           7.        Attached hereto as Exhibit E is a true and accurate copy of MD000009 as

   downloaded directly through Plaintiff’s online Sprint account portal and produced to Defendant in

   this matter, with an unrelated telephone number and Plaintiff’s account number redacted.

           8.        Attached hereto as Exhibit F is a true and accurate copy of an email exchange taken

   directly from Plaintiff’s Gmail account, and labeled as MD000199-200 as produced to Defendant

   in this matter.

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           9.        Attached hereto as Exhibit G is a true and accurate copy of PU00000003 as

   Defendant produced in discovery in this matter.

           10.       Attached hereto as Exhibit H is a true and accurate copy of PU00000028 as

   Defendant produced in discovery in this matter.

           11.       Attached hereto as Exhibit I is a true and accurate copy of PU00000062-64 as

   Defendant produced in discovery in this matter.

           12.       Attached hereto as Exhibit J is a true and accurate copy of an email exchange taken

   directly from Plaintiff’s Gmail account, and labeled as MD000396-398, with (redactions of

   attorney-client communications as the result of Plaintiff forwarding these emails to counsel) as

   produced to Defendant in this matter.

           13.       Attached hereto as Exhibit K is a true and accurate copy of an email exchange taken

   directly from Plaintiff’s Gmail account, and labeled as MD000413-414 as produced to Defendant

   in this matter.

           14.       Attached hereto as Exhibit L is a true and accurate copy of an email exchange taken

   directly from Plaintiff’s Gmail account, and labeled as MD000308-311 as produced to Defendant

   in this matter.

           15.       Attached hereto as Exhibit M is a true and accurate copy of an email exchange

   taken directly from Plaintiff’s Gmail account, and labeled as MD000232-333 as produced to

   Defendant in this matter.

           16.       Attached hereto as Exhibit N is a true and accurate copy of an email exchange taken

   directly from Plaintiff’s Gmail account, and labeled as MD000247-248 as produced to Defendant

   in this matter.




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           17.       Attached hereto as Exhibit O is a true and accurate copy of an email exchange taken

   directly from Plaintiff’s Gmail account, and labeled as MD000121-23 as produced to Defendant

   in this matter.

           18.       Attached hereto as Exhibit P is a true and accurate copy of an email exchange taken

   directly from Plaintiff’s Gmail account, and labeled as MD000280-282 as produced to Defendant

   in this matter.

           19.       Attached hereto as Exhibit Q is a true and accurate copy of screenshots showing

   July 17 text messages from and to Defendant, labeled MD000001-4, as produced to Defendant in

   this matter.

           20.       Attached hereto as Exhibit R is a true and accurate copy of PU00011779-80 as

   Defendant produced in discovery in this matter.

           21.       Attached hereto as Exhibit S is a true and accurate copy of an email exchange taken

   directly from Plaintiff’s Gmail account, and labeled as MD000509-510 as produced to Defendant

   in this matter.

           22.       Also included with the filing of Plaintiff’s Motion are true and accurate excerpts

   and copies from the depositions of Post University’s 30(b)(6) designated witness, Sean Cooley,

   and of Post University employees Victoria Meehan and Constance Reilly.

           23.       Also included with the filing of Plaintiff’s Motion are true and accurate copies the

   declarations of Plaintiff Melanie Davis and of former Post University employees Sarah Markham

   and Susanna Shigo.

           24.       If called upon, I could testify about the matters set forth herein.

           I declare under penalty of perjury that the foregoing is true and correct.

           Executed on July 19, 2019, at Wall, NJ.




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                                                  /s/ Jeremy M. Glapion___________
                                                  Jeremy M. Glapion




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                      EXHIBIT A
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                       EXHIBIT B
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                                                                       RW1111114;
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                       EXHIBIT C
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           A                  B                   C                D                E                      F                   G              H          I
  1   CALLING_NBR        CALLED_NBR         DIALED_DIGITS     MOBILE ROLE      START_DATE              END_DATE          DURATION (SEC)   Call Type     NEID
  2            ‐4599     (844) 246‐9758     (1844) 246‐9758     Outbound     08/09/2017 17:39:48   08/09/2017 18:22:07        2539          Voice       207
  3   (203) 564‐9763              ‐4599                          Inbound     08/09/2017 18:33:10   08/09/2017 18:33:10         0          Text Detail   198
  4   (203) 564‐9763             6‐4599                          Inbound     08/09/2017 18:33:11   08/09/2017 18:33:11         0          Text Detail   198
  5   (203) 596‐8364              ‐4599          ‐325            Inbound     08/11/2017 14:50:22   08/11/2017 14:53:48        206           Voice       207
  6   (203) 596‐8364          ‐325          (        ‐4599     Routed_Call   08/11/2017 14:50:22   08/11/2017 14:53:48        206           Voice       207
  7   (203) 596‐4625   (6245000) 000‐0901   (        ‐4599     Routed_Call   08/13/2017 15:40:56   08/13/2017 15:42:29         93           Voice       207
  8   (203) 596‐8364   (6245000) 000‐0901   (        ‐4599     Routed_Call   08/14/2017 15:55:18   08/14/2017 16:00:21        303           Voice       207
  9   (203) 596‐8364   (6245000) 000‐0901   (        ‐4599     Routed_Call   08/15/2017 15:49:13   08/15/2017 15:51:17        124           Voice       207
 10   (203) 596‐8364              ‐4599     (        ‐4599     Routed_Call   08/15/2017 15:49:13   08/15/2017 15:51:17        124           Voice       207
 11   (203) 596‐8364              ‐4599          ‐459         Undetermined   08/15/2017 15:49:14   08/15/2017 15:49:27         13           Voice       207
 12   (203) 596‐4625              ‐4599              ‐4599     Routed_Call   08/15/2017 16:58:58   08/15/2017 17:00:22         84           Voice       207
 13   (203) 596‐4625   (6245000) 000‐0901            ‐4599     Routed_Call   08/15/2017 16:58:58   08/15/2017 17:00:22         84           Voice       207
 14   (203) 596‐4625              ‐4599          ‐554         Undetermined   08/15/2017 16:58:59   08/15/2017 16:59:26         27           Voice       207
 15   (203) 433‐7705              ‐4599                          Inbound     08/30/2017 17:42:23   08/30/2017 17:42:23         0          Text Detail   547
 16   (203) 433‐7705              ‐4599                          Inbound     08/30/2017 17:42:24   08/30/2017 17:42:24         0          Text Detail   547
 17            ‐4599     (203) 433‐7705                         Outbound     08/30/2017 12:43:17   08/30/2017 12:43:17         0          Text Detail   229
 18   (203) 591‐5144   (6245000) 000‐0901            ‐4599     Routed_Call   10/18/2017 14:57:28   10/18/2017 14:58:53         85           Voice       207
 19   (203) 591‐5144              ‐4599              ‐4599     Routed_Call   10/18/2017 14:57:28   10/18/2017 14:58:53         85           Voice       207
 20   (203) 591‐5144              ‐4599          ‐191         Undetermined   10/18/2017 14:57:29   10/18/2017 14:57:52         23           Voice       207
 21   (203) 596‐8364              ‐4599              ‐4599       Inbound     01/11/2018 18:56:22   01/11/2018 18:58:03        101           Voice       207
 22   (203) 802‐5819              ‐4599                          Inbound     07/17/2018 15:56:45   07/17/2018 15:56:45         0          Text Detail   552
 23   (203) 802‐5819              ‐4599                          Inbound     07/17/2018 15:56:51   07/17/2018 15:56:51         0          Text Detail   552
 24   (203) 802‐5819              ‐4599                          Inbound     07/17/2018 15:56:59   07/17/2018 15:56:59         0          Text Detail   552
 25   (203) 802‐5819              ‐4599                          Inbound     07/17/2018 15:57:05   07/17/2018 15:57:05         0          Text Detail   552
 26   (203) 802‐5819              ‐4599                          Inbound     07/17/2018 15:57:12   07/17/2018 15:57:12         0          Text Detail   552
 27   (        ‐4599     (203) 802‐5819                         Outbound     07/17/2018 16:00:22   07/17/2018 16:00:22         0          Text Detail   558
 28   (        ‐4599     (203) 802‐5819                         Outbound     07/17/2018 16:00:23   07/17/2018 16:00:23         0          Text Detail   558
 29   (        ‐4599     (203) 802‐5819                         Outbound     07/17/2018 17:01:34   07/17/2018 17:01:34         0          Text Detail   558
 30   (203) 802‐5819              ‐4599                          Inbound     07/17/2018 17:03:09   07/17/2018 17:03:09         0          Text Detail   552
 31            ‐4599     (203) 802‐5819                         Outbound     07/17/2018 17:05:31   07/17/2018 17:05:31         0          Text Detail   558
 32   (203) 802‐5819              ‐4599                          Inbound     07/17/2018 17:09:04   07/17/2018 17:09:04         0          Text Detail   552
 33            ‐4599     (203) 802‐5819                         Outbound     07/17/2018 17:13:28   07/17/2018 17:13:28         0          Text Detail   558
 34            ‐4599     (203) 591‐5047     (1203) 591‐5047     Outbound     07/18/2018 10:18:07   07/18/2018 10:21:22        195           Voice       207




                                                                MD000887 (Subset)
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                       EXHIBIT D
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                                         Sprint
                                         Corporate Security
                                         Mailstop KSOPHM0206
                                         6480 Sprint Parkway
                                         Overland Park, KS 66251
                                         Office: 800-877-7330 Fax: 816-600-3111

                      Key to Understanding CDMA Call Detail Reports
    Calling number:    This column reflects the number placing the call (the individual who initiated the
                       call). If the call is an outgoing call, this will be the Sprint PCS target number.

    Called number:      This column reflects the number actually called. In most cases this number will
                        be the same as the number in the "Dialed Digits" column. If the number has
                        been forwarded, or if there is a routing number, then this will be reflected. If the
                        number has a 11 in front of the area code, that means the call rolled to
                        voicemail and was NOT answered by the customer.

    Dialed digits:     This column reflects the digits that the caller enters into the keypad of the
                       phone. If the call is an incoming call, this will be the Sprint PCS target number.

    Mobile Role:       Mobile Role (Type of Call).      Listed as outgoing, incoming, routed call or
                       undetermined.

    Start Date:        Date and time the call was initiated.

    End Date:           Date and time the call was ended.

    Duration:           Duration of call, in seconds.

    Call Type:          Indicates the type of transaction on the network. This includes, but not limited
                                         to: Voice, Text Detail, WiFi and Airave.

    NEID:               This reflects which network element handled the call.




                                                                      MD000907
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                                                  Sprint
                                                  Corporate Security
                                                  Mailstop KSOPHM0206
                                                  6480 Sprint Parkway
                                                  Overland Park, KS 66251
                                                  Office: 800-877-7330 Fax: 816-600-3111


                     Key to Understanding CDMA Call Detail Reports, cont.

    *Routed calls come in several varieties. A TLDN (Temporary Local Directory Number) may be
    considered to be a bridge/router number to complete a call. A TLDN will be represented by a number
    that may range from 3 to 10 digits in length. Similar to TLDN, an IMRN (IP Multimedia Routing
    Number), will be used to route Apple WiFi Calls. Another scenario is when a call is not answered, but is
    routed to voicemail. Calls routed straight to voicemail may also have an "11" before the number
    indicated in the "Called_Nbr" column. For handsets using visual voicemail, these numbers may replace
    the "11" in the called number column: (800) 877-2400, (866) 677-8204, (866) 222-2604, and (877)
    836-4746 The indicator that Sprint's Visual Voicemail platform was used within the session appears as
    624500000XXXXXXX.

    *WiFi Call Type: Please note that Sprint does not have the capability to determine the time stamp. These
    calls can be reflected in Switch time or GMT.

    *The CDMA call detail report may indicate the sending and receipt of text messages and e-mail. While
    not flagged as text messages, the line will indicate no duration, the dialed digits column will either be
    blank or will show an e-mail address, and the NEID column may contain one of the following numbers:
    191-198 226-229 291-294

    * On the CDMA network, Sprint maintains Gateway, SWATs (Soft Wireless Access Tandem) and MCGs
    (Media Gateway Controllers) networks in areas where there are large Sprint customer populations.
    These provide the required extra space that helps Sprint maintain all of the calls. When a call moves
    through a gateway or SWAT cell site information is not retained and is not recoverable. NEIDs for
    Gateways 124-125, SWATs are 96, 184-190, 263, 363-365 and MGCs are 366-371

    * Time Zones: Beginning 10/20/17 through present SMS text message time stamps are in Central.
    From 05/31/2017 through 10/19/2017, text message time stamps may have been GMT. An indicator
    of GMT time zones include the NEID range of 540-559. From October 12, 2010 through May of 2017
    text message time stamps were kept in Central time zone. Records prior to October 12, 2010 are either
    in Central or Eastern time zone. Sprint is unable to determine which time zone is reflected in records
    older than October 12, 2010.

    *Please be advised: The time stamp reflected on call detail reports for Sprint CDMA during the time
    frame of 02/04/2018 through 02/28/2018 may have been affected by a storage related upgrade. During
    this period, transactions may be reflected in GMT instead of the time stamp native to the switch utilized
    in the transaction. This includes, but is not limited to, Voice calls and SMS transactions.




                                                                          MD000908
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                                                 Sprint
                                                 Corporate Security
                                                 Mailstop KSOPHM0206
                                                 6480 Sprint Parkway
                                                 Overland Park, KS 66251
                                                 Office: 800-877-7330 Fax: 816-600-3111


                     Key to Understanding CDMA Call Detail Reports, cont.
    *Short codes, also known as short numbers, are special telephone codes, significantly shorter than full
    telephone numbers, which can also be used to address SMS and MMS messages from mobile phones or
    fixed phones. Short codes are often associated with automated services. An automated program can
    handle the response and typically requires the sender to start the message with a command word or
    prefix. A list of short codes is not maintained by Sprint as number of short codes is extensive and
    constantly growing. Example of a short code- the customer may want updates pertaining to their
    favorite sports team. The customer would sign up with that team in order to receive text message
    updates relevant to the team.

    * Please Note - Calls made on another carrier's network, will not appear on our CDR records. If you
    suspect the device was roaming on another network, please obtain those records from the other carrier.
    * Please Note - As of approximately September 2018, Sprint performed a soft-launch of a voice-over-LTE
    product. Because of this launch, certain calls are routed through a specific network element that
    time-stamps these transactions in central time. These transactions will not have location information
    and may appear on the records as call type 42 or Voice.




                                                                         MD000909
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                                              Sprint
                                              Corporate Security
                                              Mailstop KSOPHM0206
                                              6480 Sprint Parkway
                                              Overland Park, KS 66251
                                              Office: 800-877-7330 Fax: 816-600-3111




                                             Star Codes
    Your request has been fulfilled, at least in part, by what is known as a CDMA CDR Report. A CDMA CDR
    Report lists information about incoming/outgoing calls including the digits dialed on the handset. As a
    dialing shortcut, PCS subscribers may use star codes (an asterisk (*) plus a short number sequence)
    when using our wireless telephones. On call detail reports the star may be indicated by a letter "B".
    This code will appear in the dialed digits column of the CDMA CDR Report. Following is a list of the
    most common star codes. Additional star codes may exist in the market from which the call is made.
    Please contact the Subpoena Compliance Group at the number listed above for more information
    concerning star codes.

                *18 - Ping the nearest tower, call delivery activate
                *180 - Call delivery deactivate
                *2 - Customer Care
                *3 - Payment Center
                *31 - Three Way Calling
                *4 - Account information
                *5 - Spanish Customer care
                *67 - Caller ID block
                *68 - Override caller ID block
                *70 - Cancel call waiting for that call
                *711 - Customer Care
                *72 - Activates call forwarding
                *720 - Deactivates call forwarding
                *73 - Call forwarding no answer
                *74 - Call forward busy
                *811 - Customer Care
                *82 - Override caller ID block- for that call
                *911 - 911
                *073 - Cancel call forward no answer
                *074 - Cancel call forward busy

          Other numbers which may appear in the dialed digits column:

                  411 - Directory assistance
                  611 - Customer Care
                  711 - Telecommunications Relay Service (hearing impaired)
                  911 - Can also dial 0911 or 1911)
                  c777 - Web Browsing (SINS)




                                                                           MD000910
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                       EXHIBIT E
    Case 9:18-cv-81004-RKA Document 73-3 Entered on FLSD Docket 07/19/2019 Page 19 of 67
                                                                 5 of 15
                                                                                                         Account Number:             12
                                                                                                         Bill Period: Sep 09 - Oct 08, 2017




Equipment Payment Schedule



                   41                    Apple iPhone 7 128GB                           -4599             Apple iPhone 6 Plus 64GB Gold
                                                                                                                              Pre-owned
  Lease Contract                                   WEB-L-48146128
                                                                            Installment Contract                                   WEB-48146126
  Lease Charge (9 of 17)                                     $34.59
                                                                            Amount Financed (Principal Amount)                                $314.76
  Remaining Lease Commitment                                $276.72
                                                                            Principal Amount (9 of 24)                                         $13.12
  Purchase Option Price                                     $182.00
                                                                            Paid to Date (Principal Amount)                                   $104.96
  Payments Remaining                                               8
                                                                            Payments Remaining                                                    15
  Total Lease Amount Due - Includes unpaid                  $111.06
  charges & taxes                                                           Payoff Amount (Principal)                                         $236.04

                                                                            Total Principal Amount Due                                         $39.36
Sprint owns this device while you are leasing. Cancelling services will
result in being charged the remaining monthly lease payments plus
the device purchase option price. The Lease Charge does not reflect       The Principal Amount does not reflect any promotional discounts.
any promotional discounts.




                                                                                      MD000009
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                       EXHIBIT F
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                                                                    Melanie Davis <mdspecialist21@gmail.com>



  URGENT: RECOMMENDATION STARTED. MELANIE DAVIS. PLEASE CALL
  ADMISSIONS UNLESS APPT IS SET. 203-596-8364 PLEASE SUBMIT FAFSA.
  2 messages

  Francisco, Rita <RFrancisco@post.edu>                                                 Fri, Aug 11, 2017 at 3:46 PM
  To: "mdspecialist21@gmail.com" <mdspecialist21@gmail.com>
  Cc: "Meehan, Victoria" <VMeehan@post.edu>


   RECOMMENDATION: POST UNVIRSITY STUDENT BIO.

   Melanie Davis

   Melanie is extremely motivated to go back to school and graduate with her Bachelors degree in Human
   Services from Post University. Melanie seemed a bit reluctant at first to learn about POSTU. A unfamiliar
   school yet, once she saw how personal we make it, how supportive we are, and the resources we have,
    she was open to learn more. Melanie has a passion in serving the community through counseling. She is
   very motivated to get her degree and counsel since she has some previous college credits and is ready to
   excel. She seems very caring and genuine, dedicated, and diligent. Melanie is excited about the program,
   especially the fact that there are no set log in times, tutoring, and Career Services to assist in finding a job
   as soon as she becomes a student. Melanie has a passion for helping those in need to and would be a
   great addition to Post University. I strongly recommend her for the Bachelors of Science in HS program
   that begins on August 28th.

   To be continued…..

   *IF STUDENT IS INTERESTED IN ENROLLING RECOMMNEDATION WILL BE SUBMITTED. APPT
   MADE FOR 8/13. PLEASE SUBMIT FAFSA AND CALL 203-591-5144 IF YOU NEED ASSISTANCE
   TOMORROW**




                                        Rita Francisco
                                        ADP Admissions Counselor
                                        RFrancisco@Post.edu
                                        w. 203.596.8364



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   distribution, or reproduction of this e-mail, is prohibited and may be unlawful.




                                                                          MD000199
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  Melanie Davis <mdspecialist21@gmail.com>                                         Sun, Aug 13, 2017 at 8:44 PM
  To: "Francisco, Rita" <RFrancisco@post.edu>
  Cc: "Meehan, Victoria" <VMeehan@post.edu>

   Hello Rita!

   Although I was very impressed with the information I was given on our call, things have changed from my
   original plan. Apparently I was a bit too eager for knowledge and jumped the gun so to speak. Unaware of
   things taking place, I now have time constraints and scheduling issues that will not allow me to move
   forward with school. This is the reason why fasfa was not completed. I will keep the information you have
   given me for my future, should things change back to what they were before.

   I do appreciate the time and effort you have put into providing me with such a fantastic outlook on your
   school program!

   Thank you!

   Melanie
   [Quoted text hidden]




                                                                      MD000200
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                       EXHIBIT G
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Case 9:18-cv-81004-RKA Document 73-3 Entered on FLSD Docket 07/19/2019 Page 26 of 67



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    uvctvgf<!ecnn!314.679.2763/!VzvUVQR3gpf!
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    oguucigu!yknn!dg!ugpv/!Jgnr!cv!yyy/vtwgfkcnqi/eqo0jgnr!qt!988.612.5387!
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                       EXHIBIT I
  Case 9:18-cv-81004-RKA Document 73-3 Entered on FLSD Docket 07/19/2019 Page 28 of 67




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eqpvcevgf!{qwt!uejqqn/!!Ujqtvn{!chvgtyctfu-!o{!nkhg!ycu!kpvgttwrvgf!d{!wprngcucpv!gxgpvu!cpf!K!co!pq!nqpigt!
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     Vjg!nkpmgf!kocig!ecppqv!dg!fkurnc{ gf/!!Vjg!hkng!oc{ !jcxg!dggp!oqxgf-!tgpcogf-!qt!fgngvgf/!Xgtkh{!vjcv!vjg!nkpm!rqkpvu!vq!vjg!eqttgev!hkng!cpf!nqecvkqp/




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   Srvw"Xqlyhuvlw|"kdv"fodvvhv"ehjlqqlqj"rq"Rfwrehu"45ug"zlwk"sohqw|"ri"wlph"wr"jhw"|rxu"iloh"ilqdol}hg#




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       "   Lpphgldwh"rssruwxqlwlhv"wr"dsso|"zkdw"|rxuh"ohduqlqj"lq"fodvv"wr"|rxu"fduhhu
       "   Dffhvv"wr"d"whdp"ri"dfdghplf"dqg"vwxghqw"vxssruw"vshfldolvwv"zkrvh"vroh"sxusrvh"lv"wr"eh"d"fkdpslrq"ri"
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   Li"|rx"kdyh"dq|"txhvwlrqv"dw"doo"ru"zrxog"olnh"wr"jhw"|rxu"ixwxuh"vwduwhg"sohdvh"gr"qrw"khvlwdwh"wr"frqwdfw"ph0"L"orrn"
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                                                                        qt!fgngvgf/!Xgtkh{ !      jcx g!dggp!          tgp cogf-!qt !       tgp cogf-!qt !
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                                                                        vq!vjg!eqttgev!hkng !     tgp cogf-!qt !       vjcv!vjg!nkpm !      vjcv!vjg!nkpm !
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                                       Ectkuuc!Xcnnw||q
                                       CFR!Cfokuukqpu!Eqwpugnqt
                                       EXcnnw||qBRquv/gfw
                                       y/!314/6;7/5784




911!Eqwpvt{!Enwd!Tf/-!R/Q/!Dqz!3651-!Ycvgtdwt{-!EV!17834.3651!¹!911/456/3673!¹!Xkukv!wu!cv!rquv/gfw!



Vjku!eqoowpkecvkqp-!kpenwfkpi!cvvcejogpvu-!oc{!eqpvckp!kphqtocvkqp!vjcv!ku!rtkxkngigf!qt!eqphkfgpvkcn!vq!Rquv!Wpkxgtukv{/!Kv!
eqpuvkvwvgu!pqp.rwdnke!kphqtocvkqp!kpvgpfgf!vq!dg!eqpxg{gf!qpn{!vq!vjg!fgukipcvgf!tgekrkgpv)u*/!Kh!{qw!dgnkgxg!vjcv!{qw!ctg!pqv!vjg!
kpvgpfgf!tgekrkgpv!cpf0qt!jcxg!tgegkxgf!vjku!eqoowpkecvkqp!kp!gttqt!rngcug!pqvkh{!vjg!ugpfgt!koogfkcvgn{!d{!tgvwtp!g.ockn!cpf!
rtqorvn{!fgngvg!vjku!g.ockn-!kpenwfkpi!cvvcejogpvu!ykvjqwv!tgcfkpi!qt!ucxkpi!vjgo!kp!cp{!ocppgt/!Vjg!wpcwvjqtk|gf!wug-!
fkuugokpcvkqp-!fkuvtkdwvkqp-!qt!tgrtqfwevkqp!qh!vjku!g.ockn-!ku!rtqjkdkvgf!cpf!oc{!dg!wpncyhwn/!




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                                                                                                      Melanie Davis <mdspecialist21@gmail.com>



  Your FAFSA is Here!
  3 messages

  Meehan, Victoria <VMeehan@post.edu>                                                                                  Wed, Oct 11, 2017 at 12:24 PM
  To: "mdspecialist21@gmail.com" <mdspecialist21@gmail.com>




                                                                Follow us on social media:




        Dear Melanie,



        The good news is you have done the hard part!

        Your 1718 FAFSA is currently on file at Post University.



        With the start of classes just around the corner, it’s important to understand your financial aid award package and if
        going to college to change your life will be feasible for you. We have financial aid advisors available 7 days a week to
        discuss your options with you.



                                                                                rd
        To discuss your FAFSA and possibly get started in our October 23 session please REPLY BACK:



        The best phone number to reach me is: _____________________________



        The best time to call me is: ______________________________




        Sincerely

        V Meehan
        Assistant Director of Admissions




                                                                                             MD000396
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                                                                   Follow us on social media:




                                        Victoria Meehan
                                        Assistant Director of ADP Admissions
                                        VMeehan@Post.edu
                                        w. 203.596.4625
                                        f. 203.841.1161

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  Melanie Davis <mdspecialist21@gmail.com>                                                                              Wed, Oct 11, 2017 at 6:42 PM
  To: "Meehan, Victoria" <VMeehan@post.edu>

   Please stop emailing, texting, sms, calls and voicemail!!

   This is the third or fourth time I am asking to be removed from all of your lists!!

   Thank you!
   [Quoted text hidden]


    11 attachments

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             image002.png
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          2K

          image004.png
          3K


  Melanie Davis <mdspecialist21@gmail.com>                       Wed, Jul 18, 2018 at 10:09 AM
  To: Jeremy Glapion <jmg@glapionlaw.com>




                                                      MD000398
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                       EXHIBIT K
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                                                                                                        Melanie Davis <mdspecialist21@gmail.com>



  It's Not Too Late *Please Reply*
  1 message

  Meehan, Victoria <VMeehan@post.edu>                                                                                         Wed, Oct 18, 2017 at 8:37 PM
  To: "mdspecialist21@gmail.com" <mdspecialist21@gmail.com>




        Dear Melanie,



        It is not too late for you to change your life through education!

        Post University offers 24/7 tutoring, lifelong career services assistance and unparalleled flexibility and support.

        Once before you told us that was what you wanted from a school, is that still the case?



                                            rd
        To get started in our October 23 session please REPLY BACK:



        The best phone number to reach me is: _____________________________



        The best time to call me is: ______________________________




        Sincerely

        V Meehan
        Assistant Director of Admissions




                                                                                               MD000413
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                                                                   Follow us on social media:




                                        Victoria Meehan
                                        Assistant Director of ADP Admissions
                                        VMeehan@Post.edu
                                        w. 203.596.4625
                                        f. 203.841.1161

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   prohibited and may be unlawful.


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                       EXHIBIT L
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                                                                  Melanie Davis <mdspecialist21@gmail.com>



  New Year, New You- Classes now forming at Post University!
  2 messages

  Williams, Kimberly <KWilliams@post.edu>                                            Wed, Nov 8, 2017 at 3:47 PM
  To: "mdspecialist21@gmail.com" <mdspecialist21@gmail.com>




                                                      Melanie,



         I hope this email finds you well. You were previously working with our admissions team regarding
    enrollment for Post University’s online accelerated programs. I know timing was off and you were unable to
    start in 2017. I wanted to let you know Post University is now registering students for courses that begin on
                              January 8th 2018 and this is the first class of the New Year!

                                   Here are a few facts about Post University:




                                                                       MD000308
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       •                                      We are regionally accredited.

       •                 Our sessions are 8 weeks long (accelerated to help you finish quickly).

       •      NO set login times! You will not be required to be online at a specific time during the week.

       •                                You can take 1 or 2 classes per 8 weeks.

       •                                      We have NO application fee.

       •    Please take a few moments to look over our website and our program offerings - PROGRAMS




                             YOUR FUTURE BEGINS TODAY!

                    Get started today by completing your FAFSA.


                          And you can complete your 2017/2018 FAFSA at


                                              www.fafsa.ed.gov


                                  Post University school code 001401


     Don’t wait another year to begin working on your dreams! 2018 is a new
                               year and a new you!

   If you are no longer interested in completing your degree, please respond to this email and I will update our
                                                      records.



                  I look forward to assisting you with your goals. Feel free to reach me directly:



                                      Kimberly Williams


                                             203.591.5144



                                                                       MD000309
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                                        Kimberly Williams
                                        Admissions Counselor ADP - Team Lead
                                        KWilliams@Post.edu
                                        w. 203.591.5144
                                        f. 203.841.1161

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   distribution, or reproduction of this e-mail, is prohibited and may be unlawful.



  Melanie Davis <mdspecialist21@gmail.com>                                             Wed, Nov 8, 2017 at 4:04 PM
  To: "Williams, Kimberly" <KWilliams@post.edu>

   Kimberly Williams, I have asked you and your colleagues to stop calling and emailing me. I was once
   interested and have had to change my mind. I am no longer interested in applying to attend Post
   University!

   Please let this be the last communication regarding your school.

   Thank you!
   [Quoted text hidden]


    3 attachments

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                                                                                                         Melanie Davis <mdspecialist21@gmail.com>



  New Year, New You, Don't Miss Out!
  1 message

  Valluzzo, Carissa <CValluzzo@post.edu>                                                                                  Thu, Dec 7, 2017 at 11:28 AM
  To: "mdspecialist21@gmail.com" <mdspecialist21@gmail.com>




                                                          POST UNIVERSITY
                                                          Don't Wait Another Minute, Classes Begin January 8th!


                                                          XXX,



                                                          Now's the perfect time to get the education you need on your own time.

                                                          Enroll today to take an important step forward in achieving your personal and
                                                          professional goals. We offer:

                                                                • 100% accelerated online classes
                                                                • The highest level of college accreditation & are ranked top 20 in the U.S.
                                                                • A career­focused education, and high employment rates for students
                                                                • Small class sizes in a personalized setting
                                                                • A program that is based on our 125­year­old traditional campus—your degree
                                                                  WILL NOT specify that you completed your degree online




                                                                                       Melanie,Dear Melanie,
                                                              Contact me today at (203) 596-4673 for assistance, or get started on your
                                                                                   own using the buttons above.


                                                          I look forward to welcoming you to the Post University family! -



                                                          Carissa Valluzzo | ADP Admissions Counselor

                                                          800 Country Club Road • Waterbury, CT 06723 • post.edu/online




                                   Carissa Valluzzo
                                   ADP Admissions Counselor
                                   CValluzzo@Post.edu
                                   w. 203.596.4673




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   unlawful.




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                                                               Melanie Davis <mdspecialist21@gmail.com>



  Snowed In? We Can Help with Your FASFA!
  2 messages

  Meehan, Victoria <VMeehan@post.edu>                                             Thu, Jan 4, 2018 at 9:24 AM
  To: "mdspecialist21@gmail.com" <mdspecialist21@gmail.com>



                                             Hi Melanie!


       Are you snowed in today and want to have a
                   productive day?
            We can help you get your FAFSA done!




    Meghan, our FAFSA Specialist is available! Call (646)535-2426 or text (860) 554-1473 and she would be
                                              happy to help you!



         You can also reach the Assistant Director of Admissions for assistance today at 203-529-5596.



    Completing your FAFSA is a very important step in the admissions process and we don’t want you to miss
                                  out on classes that start January 8, 2018!




                                                                    MD000247
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                                        Victoria Meehan
                                        Assistant Director of ADP Admissions
                                        VMeehan@Post.edu
                                        w. 203.596.4625
                                        f. 203.841.1161

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   distribution, or reproduction of this e-mail, is prohibited and may be unlawful.



  Melanie Davis <mdspecialist21@gmail.com>                                             Thu, Jan 4, 2018 at 10:53 AM
  To: "Meehan, Victoria" <VMeehan@post.edu>

   Please stop contacting me! Not interested!!

   Melanie
   [Quoted text hidden]




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                                                                                       Melanie Davis <mdspecialist21@gmail.com>



  Post University would love to reconnect with you!
  2 messages

  Williams, Kimberly <KWilliams@post.edu>                                                                   Wed, Apr 4, 2018 at 3:47 PM
  To: "mdspecialist21@gmail.com" <mdspecialist21@gmail.com>




        Melanie



        Post University would love to reconnect with you regarding starting online classes. At Post
        University, our online classes are accelerated and have no set login times. This flexibility is designed
        for you and your busy schedule!



                                                 th
        We have classes beginning on April 30 , 2018, are you interested in starting?



        Please use one of the following responses so I can update our records:



        If YES, please respond with “YES” and I will contact you to get started.



        If you are choosing to use Financial Aid, please fill out your 2017-2018 Financial Aid Application at
        www.fafsa.ed.gov and add our school code: 001401




                                     TOP TEN REASONS TO BECOME A STUDENT AT POST U




                                                                                     MD000121
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              1. We aren’t an “online school”, we have a campus that has been in located in Connecticut since 1890 and we offer the same
              classes online as on our campus so your diploma will not say that you earned your degree online.

              2.   Our university is small and private, offering students a more personable experience from start to graduation

              3. We were just recently ranked one of the Top 10 Programs in the Country for Return on Investment. Meaning you are much
              more likely to make back the money you put into your education if you graduate from Post.

              4.   We hold a regional accreditation by NEASC, the highest accreditation a university can have.

              5.   We’re also accredited with the Better Business Bureau and have an A­ rating

              6.   Students can graduate at a quicker pace than at other universities – usually at least 6 months to 1 year faster.

              7. Our online classes are extremely flexible allowing students to learn on their own time each week—there are no set login
              times or live lectures.

              8.   When online students graduate, they are given the opportunity to come to campus and attend graduation in person.

              9.   We’re top ranked for the percentage of students that receive financial aid.

              10. Our professors are all experts working in their field so you will receive the most up to date information available from those
              most qualified to give it.



      If NO, please reply to this email with: Close File.

      Sincerely,

      Kimberly Williams

      Admissions Counselor




                                                              Follow us on social media:




                                                                                                 MD000122
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                                        Kimberly Williams
                                        Admissions Counselor ADP - Team Lead
                                        KWilliams@Post.edu
                                        w. 203.591.5144
                                        f. 203.841.1161




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   dissemination, distribution, or reproduction of this e-mail, is prohibited and may be unlawful.



  Melanie Davis <mdspecialist21@gmail.com>                                                               Wed, Apr 4, 2018 at 5:34 PM
  To: "Williams, Kimberly" <KWilliams@post.edu>

   This is the 5 or 6th time I have asked Post representatives to stop contacting me.

   Please close my file!!! I will be forced to obtain legal action.

   Melanie
   [Quoted text hidden]




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                                                                                       Melanie Davis <mdspecialist21@gmail.com>



  Post U has not forgotten about you!
  2 messages

  Williams, Kimberly <KWilliams@post.edu>                                                                   Wed, Jun 6, 2018 at 12:09 PM
  To: "mdspecialist21@gmail.com" <mdspecialist21@gmail.com>




                Post University Accelerated Degree Program | Unleash Potential, Create Possibility, Change Lives | Since 1890




                    Hello,



                    Not too long ago you considered Post
                    University for your education, I am
                    touching base with you because we have
                    not given up on you and your goals! We
                    want to make sure you hadn’t either.



                    Classes start at the end of this month and
                    Post U requires just two applications to
                    have your file reviewed.



                    To get started with our upcoming June
                    25th session please respond to this email
                    with the best time and number today for
                    us to connect or if you prefer you can call
                    me directly at 203-591-5144.

                    I look forward to helping you achieve your
                    academic and career goals!




                                                                                       MD000280
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    All the best!




                                                        Sincerely,
                               Kimberly Williams, Admissions Advisor

                               P. 203.591.5144




                                                           Follow us on social media:




                  Post University Accelerated Degree Program | Unleash Potential, Create Possibility, Change Lives | Since 1890




                                          Kimberly Williams
                                          Admissions Counselor ADP - Team Lead
                                          KWilliams@Post.edu
                                          w. 203.591.5144
                                          f. 203.841.1161




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   unauthorized use, dissemination, distribution, or reproduction of this e-mail, is prohibited and may be unlawful.




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  Melanie Davis <mdspecialist21@gmail.com>                                                        Wed, Jun 6, 2018 at 12:17 PM
  To: "Williams, Kimberly" <KWilliams@post.edu>

   Please stop emailing me! I’m not interested anymore! I have told everyone who has contacted me by phone and email!!
   [Quoted text hidden]




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                                                                           Melanie Davis <mdspecialist21@gmail.com>



  Post University - Financial Aid Grants & Loans
  McInerney, Tashina <tmcinerney@post.edu>                                                 Fri, Sep 7, 2018 at 11:34 AM
  To: "mdspecialist21@gmail.com" <mdspecialist21@gmail.com>




        Hello!



        I know that the main concern about attending school is the
        cost of tuition. Submit your FAFSA and see what your award
        will be prior to enrolling in classes. It takes 48-72 hours for
        your FAFSA to process and come in to our financial aid
        department.

        Once submitted a confirmation email is auto generated to
        the email address you used for your FAFSA. Please, forward
        the confirmation email to me at; Vmeehan@post.edu



        Fill out the 2018/2019 FAFSA application at
        www.fafsa.ed.gov



        Be sure that you are adding our school code: 001401. This
        application should be filled out carefully and accurately.



        Let me know if you have any questions or if there is anything
        that I can assist you with.



        I am looking forward to being able to help you reach your
        long term educational goals!



        Best Regards,

        Tashina McInerney
        Admissions Counselor




                                                                          MD000509
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                                                                   Follow us on social media:




                                        Tashina McInerney
                                        ADP Admissions Counselor
                                        tmcinerney@Post.edu
                                        w. 203.596.4641
                                        f. 203.841.1161




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